                                            éS86NĻ\'8¬Ļ©S[]¼\ĻLãßĻ
                                        °ÒĻ9¸RĻ;6ÜàXĻO½]ZÅáĻ±Ļ^¾Zµ¿XÀĻ
                                                 ? Ē sĚĻ5isAĻ

             7âÁÓ7ìÂ5­ĻVä8åÊĻ                                 .Ļ
             ÃÏÝæ4MĻ¦WĻ4YîĻĻ                            FĻ
             )>ĻüĻV Ļ[đAĻTTĻ                  }Ļ
                                                                /Ļ                       3:20-cv-50
             Ļ7  AúĻÔEĻ                              /Ļ   L-Ļ ĻJ¡Ļ ð<<ñ<òĻ     óĻ
             ēBõĻghĻ3&Ļ                              /Ļ
                                                                GĻ             
                          ÕĔ,Ā2Ļ                            GĻ
                                                                HĻ
                                                             ~Ļ
                                                                0Ļ
             6íĻ¹'5(Ù4²9OĻ;PĻ                           1Ļ
             ×Nç9ĻUUMĻ                                    1Ļ
                                                                1Ļ
             &3Ļ³  Ļ¶mtĻĻ                             HĻ
             £t Ļ:CĆiĻ Ļ                         .Ļ
                                                                0Ļ
                          ªþKĻ                            FĻ

                                                                
                     ! ċāĻÐ,  ĻW ĻÄnğ_Ļ( lDĻ{w  x.Ļ)DĻĻĩć * Ļ
            Ļ ofĻ%ħDIĻĻ+ ĻĂ ,ČjĻĻ)ĕeĻ- ĻĻă"" ¢Ļ

                                                             
                     J           Ī Ļ Ļ Ļ  + ĥôī#Ļ # >ĺĻ ĶĻ qĈĻ  Ļ aĻ@Ļ % Ļ 
¯ÛÆÇĻ
Í»ÈÉQÖĻ    +Ħ$ĖĻ l"_ĻbĻöopĻ ė=ĬĻ  ĻĻYĭ  hĻ EĻ §#! ÷Ļ @Ļ 'ĮĻ!!Ļ
ë«¤¥ĨĻ
ÎÑïQÚÞĻ   į Ļ BİĻ @ûĢ,2Ļ   j čĻ Ļ q? vĻıĻ Ļ+ =Ļ cĻCĻĠĻrgĻ
           ( BķĲĉĻcĻ: *KĻ
                    &            PÿĻ ®uĻ ºĻ ąĻ ;Ļ Ckr2Ļ ËÌ¨Ļ |zRĸy0Ļ Ļ 
            $ĹĻ >EĻĻĳĊĻĘ ĻaĻ Ļ(                    ĵ ĻýĻêmfĻ %?ĻĻ$ =$!Ļ
           $ę`Ļ dĻ )Ļ   Ļ Ļ &3Ļ ´ %Ļ ·n#-Ļ Ø Ļ ' Ď-ěĜIĻ ^ďģ*ĐĻ èġ#Ļ
           Ą % Ļ Ļ øeĻ Ļ ĝ ù Ļ dĻpuĻ ĤĻ `ĴvĻ kbĻ: *Ļ Ļ ""Ļ ĞĻ

                  
